If he gets a new writ of error, there may be a doubt whether we ought to award execution. A distinction is taken in the *Page 671 
books, when the writ abates by the act or fault of the party; there the second writ shall not be a supersedeas. Otherwise when it abates by the act *of God, or without any act or fault of the party, as want of form. But here there is no writ depending, and there is no reason to stay execution.
DODERIDGE, J., and CREW, C. J., assented. Although we do award execution, he may bring error to the next Parliament. Here is no writ depending. We are not to know whether he wishes for a new writ or not. Therefore, Fiat executio.
DODERIDGE, J., cited 8 H., 6., tit. error. Error brought in Parliament. The plaintiff prayed a scire facias to next Parliament, and denied that it works any delay. It is so in this case. Postea, 739; Noy, 76; Rol., 765; Jones, 66; 2 Cr., 241; Mo., 834.